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 4
     Counsel for Mr. Damian Peterson
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 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       ) Case No. 2:12-cr-00169-MCE
                                     )
12                  Plaintiff,       ) STIPULATION AND [PROPOSED]
                                     ) ORDER MODIFYING CONDITIONS OF
13        v.                         ) PRETRIAL RELEASE
                                     )
14   DAMIAN PETERSON,                )
                                     )
15                  Defendant.       )
                                     )
16   _______________________________ )
17
18                                     BACKGROUND
19        Both Mr. Peterson and his Pretrial Services Officer agree that Mr.
20   Peterson has special need for professional psychiatric and counseling
21   services as set forth herein below.       As set forth in this stipulation,
22   government counsel is also in agreement.
23
24                                     STIPULATION
25        It is hereby stipulated and agreed by and between the parties
26   hereto, through their respective counsel, that the conditions of
27   pretrial release imposed on defendant Damian Peterson on April 25,
28   2012, by The Honorable Gregory G. Hollows, United States Magistrate
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 1   Judge, shall be modified to include the following additional condition
 2   as requested by his Pretrial Services Officer, Ms. Taifa Gaskins:
 3
 4        You shall participate in a program of medical or psychiatric
          treatment, including treatment for drug or alcohol
 5        dependency, as approved by the pretrial services officer. You
          shall pay all or part of the costs of the counseling services
 6        based upon your ability to pay, as determined by the pretrial
          services officer.
 7
               Dated: August 29 , 2013
 8
 9                                          /s/ Robert M. Holley
10
                                            Mr.Robert M. Holley,Esq.
11                                          Counsel for Damian Peterson

12             Dated: August 29, 2013
13                                          /s/ Jason Hitt (by RMH)

14                                          Mr.Jason Hitt,Esq.
                                            Assistant United States Attorney
15
16
17                                        ORDER

18             On the stipulation of all parties and good cause appearing,
19   IT IS SO ORDERED.
20
     Dated: August 29, 2013
21
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